Case 1:96-cv-00257-JLK Document 6 Entered on FLSD Docket 04/15/2004 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 96-0257-CV-JLK

IN RE: SEARCH AND SEIZURE WARRANT
FOR ROLLS ROYCE AND NARCOTICS
PROCEEDS,

ORDER UNSEALING DOCUMENTS

The above-styled case is closed and not on appeal. On 11/06/03, the Clerk of Court sent a notice to
the filing party of sealed documents explaining that the Court intended to unseal the documents
unless the parties requested a different disposition. There has been no response received to the

Clerk’s Notice of Intent to Unseal, therefore the Clerk’s Office is instructed to do the following:

Docket entry: 4 and 5, (documents attached hereto), shall be unsealed, docketed, and placed in the

 

court file.

DONE and ORDERED at Miami, Florida this Zz day of January, 2004.

Hn tawsrsher

Zs LAWRENCE KIN
ITED STATES DISTRICT JUDGE

 

anner; Unsazlnl auc jlecel Lr

The document(s) has/have been disposed in the followi
Geert file 0 ELE on (feet

 

 

\
Case 1:96-cv-00257-JLK Document 6: Entered on FLSD Docket 04/15/2004 Page 2 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASENO. 96-0257-CV-JLK

STYLE: IN RE: SEARCH AND SEIZURE WARRANT FOR ROLLS ROYCE AND
NARCOTICS PROCEEDS

TO: GUY A. LEWIS, AUSA, OR DESIGNEE
CLERK’S NOTICE OF INTENT TO UNSEAL CIVIL DOCUMENTS

Our records reveal that the following case was filed under seal upon your motion. The case was
closed upon final adjudication on 02/09/96, and is not on appeal.

 

 

 

 

Date Filed | Docket Entry Description

2/21/96 4 SEALED AND EX PARTE NOTICE OF FILING

2/21/96 5 GOVERNMENT’S SEALED RESPONSE TO
EMERGENCY MOTION TO QUASH

 

 

 

 

We intend to unseal these documents unless you respond and request a different
disposition within thirty (45) calendar days of the issuance of this notice. If no response is
received, the documents will be unsealed and made a part of the public record. Please send
the attached response to: 301 N. Miami Ave., Miami, FL, 33128-7788.

Clarence Maddox
Court Administrator « Clerk of Court

Date: 11/6/03 Woe
DeputyClerk
